
In re Lee, Bobby James; — Defendants); applying for writ of certiorari and/or review; to the Court of Appeal, Third Circuit, No. CR93-0662; Parish of Evangeline, Thirteenth Judicial District Court, Div. “A”, No. 44,247-F.
Granted in part; denied in part. The defendant’s conviction is affirmed. His sentence is amended to delete the requirement of restitution. La.R.S. 14:67 does not authorize the court to order restitution as part of an executory sentence of imprisonment. Compare La.R.S. 14:67.3 Cf., La.C.Cr.P. art. 895.1 (restitution as a condition of probation).
DENNIS, J., not on panel.
